

Matter of Rivera v Sewell (2024 NY Slip Op 02385)





Matter of Rivera v Sewell


2024 NY Slip Op 02385


Decided on May 02, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 02, 2024

Before: Manzanet-Daniels, J.P., Kern, Friedman, Rosado, O'Neill Levy, JJ. 


Index No. 151813/22 Appeal No. 2175 Case No. 2023-02460 

[*1]In the Matter of Laureano Rivera, Petitioner-Appellant,
vKeechant Sewell etc., et al., Respondents-Respondents.


Goldberg &amp; McEnaney, LLC, Port Washington (Timothy McEnaney of counsel), for appellant.
Sylvia O. Hinds-Radix, Corporation Counsel, New York (Jennifer Lerner of counsel), for respondents.



Judgment, Supreme Court, New York County (Laurence L. Love, J.), entered December 22, 2022, which denied the petition to annul respondents' determination, dated November 10, 2021, denying petitioner's application for accidental disability benefits (ADR), and dismissing the proceeding brought pursuant to CPLR article 78, unanimously affirmed, without costs.
Petitioner did not sustain his burden of showing that his injuries resulted from an accident within the meaning of Administrative Code of City of NY § 13-252, rather than the foreseeable result of his own conduct in ignoring warnings and walking on a wet floor in the station house (see Matter of Doyle v Kelly, 8 AD3d 125, 126 [1st Dept 2004]; Matter of Hopp v Kelly, 4 AD3d 176 [1st Dept 2004]). Petitioner argued that it was necessary for him to walk on the wet floor to access his office and affect an arrest. However, his reasons for walking on the floor despite the warnings are irrelevant since a slip and fall would not be unexpected in the circumstances.
A remand to the Trustees is not warranted since they considered the statements of the three witnesses, which were consistent, and petitioner did not deny that their account of the incident was accurate (see Matter of McCartan v Shea, 211 AD3d 534, 535 [1st Dept 2022]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 2, 2024








